      Case 1:05-cr-01849-JCH         Document 627-1        Filed 08/15/06     Page 1 of 1




                    IN THE DISTRICT COURT OF THE UNITED STATES
                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                       §
                                                §
                Plaintiff,                      §
                                                §
vs.                                             §                    Cause No. 05-CR-1849-JH
                                                §
DANA JARVIS, et al,                             §
                                                §
                Defendants.

                     ORDER MODIFYING CONDITIONS OF RELEASE

       THIS MATTER having come before the Court on Defendant Greg Hill's Unopposed

Motion to Travel, and the Court being fully advised that neither the Government nor Pretrial

Services have objection to the requested modification,

       IT IS HEREBY ORDERED that the Greg Hill will be permitted to travel from Indiana to

Frisco, North Carolina, from August 31, 2006 through September 19, 2006.




                                     _________________________________
                                     HON. JUDITH HERRERA
                                     UNITED STATES DISTRICT JUDGE

Submitted by:

 Kari Converse
Counsel for Mr. Hill

Approved by:
James Tierney, AUSA
Mark Cofner, Pretrial Services Officer
